Case 2:09-cr-00360-ES               Document 128     Filed 09/18/12   Page 1 of 1 PageID: 465



NOT FOR PUBLICATION

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


HAVEN ABDULLAH,
                                                       Hon. Dennis M. Cavanaugh
                    Plaintiff,
                                                             ORDER
                        V.
                                                       Crim. Action No. 09-360-002
UNITED STATES OF AMERICA,                              Civil Action No. 2:ll-cv-01 i99-DMC

                   Defendants.




DENNIS M. CAVANAUGH. U.S.D.J.:

       This matter having come before the Court upon the Motion of Petitioner Haven

Abdullah, to vacate, set aside, and correct his sentence Ordered by this Court on December 15,

2009, and the Court having considered the submissions of the parties, and for the reasons stated

in the Court’s Opinion filed this day;

          IT IS on this 4
                        day of September, 2012;
                        7

          ORDERED that Defendants’ Motion to vacate, set aside and correct his sentence is

denied.




                                                              Dennis M.

          Orig.:             Clerk
          cc:                All Counsel of Record
                             File
